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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.

 ADIDAS AG, ADIDAS INTERNATIONAL MARKETING B.V.,
 ADIDAS AMERICA, INC., REEBOK INTERNATIONAL LIMITED,
 and REEBOK INTERNATIONAL LTD.,

                   Plaintiffs,
 vs.

 2017YEEZY.COM a/k/a 2018YEEZY.COM a/k/a YEEZY2018S.COM,
 109JAMZ.COM, 2017YEEZY-SALE.COM, 2018NMDFORSALE.COM,
 2018YEEZYBOOST.COM, BESTYEEZYBOOST350.COM a/k/a
 BOOST350V2SALE.COM a/k/a 350BOOSTV2CHEAP.COM a/k/a
 TOPYEEZYBOOST350.COM a/k/a VIPYEEZYBOOST350.COM a/k/a
 SHOESJERSEYS.COM, ABBOTSWOODMEDICALCENTRE.CO.UK,
 ADIDAS-AU.COM, ADIDASNEW.COM a/k/a
 STOREYEEZYBOOST.COM a/k/a YEEZYBOOST2019.COM a/k/a
 SNEAKERMORE.COM a/k/a ADIDASOK.COM a/k/a USADIDAS.COM
 a/k/a ADIDASFORSALE.COM a/k/a FORSALEKICKS.COM a/k/a
 ADIDASBEST.COM a/k/a WORLDADIDAS.COM a/k/a
 YEEZYBOOSTY.COM a/k/a YEEZYBOOSTPRO.COM a/k/a
 YEEZYBOOSTUP.COM a/k/a GETYEEZYBOOST.COM a/k/a
 ADIDASAY.COM, ADIDASCLASSIC.COM a/k/a ADIDASLIGHT.COM,
 ADIDASDEERUPT.US a/k/a SUPREMEYEEZYS.COM,
 ADIDASEQTJAPAN.COM a/k/a ADIDASNIKESKO.COM a/k/a JP-
 WEARADIDAS.COM, REEBOKCLASSICSUEDE.CO.UK a/k/a
 ADIDASEQTSHOES.US, ADIDASEQUIPAGE.COM,
 ADIDASFEMALESNEAKERSUK.COM,
 ADIDASFORSALEONLINEUK.COM, GETADIDAS.COM a/k/a
 HIREEBOK.COM a/k/a KIDSYEEZY.COM a/k/a AIRYEEZYSHOES.COM
 a/k/a JORDANABC.COM a/k/a YEEZYMENSBOOST.COM a/k/a
 ADIDASY3BOOST.COM a/k/a ADIDASKING.COM a/k/a
 NIKEYEEZY2.COM a/k/a SELLYEEZY.COM a/k/a
 MYYEEZYBOOST.COM a/k/a ADIDASY3SALE.COM a/k/a
 IAIRYEEZY.COM a/k/a ADIDASHARDEN.COM a/k/a
 ADIDASY3SHOES.COM a/k/a REEBOKBUY.COM a/k/a
 NIKEADIDASYEEZY.COM a/k/a YEEZYGOOD.COM, ADIDASHI.COM,
 YEEZYBLUETINT.US a/k/a ADIDASHUMANRACE.US a/k/a ADIDAS-
 SHOES.ORG.UK a/k/a ADIDAS-YEEZY.ORG.UK, ADIDASNEAR.COM
 a/k/a ADIDASORIGINALSALE.COM a/k/a ADIDASYEAR.COM a/k/a
 ADIDASZXSHOW.COM a/k/a SPORTYEEZY.COM,
 ADIDASNEMEZIZ.COM, ADIDASNMD2018.COM,
 ADIDASNMDCA.COM, ADIDASNMDS.CO.UK a/k/a ADIDAS--
 SHOES.CO.UK a/k/a ADIDASYEEZYS.ORG.UK a/k/a
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 YEEZYBOOST350V2.CO.UK, ADIDASOFFICIAL.COM a/k/a
 YEAHADIDAS.COM, ADIDASSHOESFACTORYOUTLET.COM a/k/a
 ADIDASORIGINALSZXFLUX.US a/k/a
 ADIDASSOCCERCLEATSSHOES.US, ADIDAS-YEEZYBOOST350.COM
 a/k/a CHEAPADIDASSHOES.NET a/k/a ADIDASYEEZY2018.NET a/k/a
 YEEZYSHOES.NET a/k/a ADIDASOUTLETONLINE.NET a/k/a
 ADIDASYEEZYBOOST350.NET a/k/a ADIDASYEEZYBOOST.NET,
 ADIDASOUTLETRUSHOP.COM a/k/a JPADIDASSTORE.COM a/k/a
 REEBOKCROSSFIT.US a/k/a ADIDASNMDR2.COM a/k/a
 ADIDASTUBULARINVADER.COM a/k/a
 REEBOKCLASSICCHEAP.CO.UK a/k/a LIVESTOCKREEBOK.COM
 a/k/a NEWREEBOKCROSSFIT.COM a/k/a UCUZREEBOK.COM a/k/a
 COOLREEBOK.COM a/k/a NBREEBOKMAX.COM a/k/a
 UCUZUSBNBREEBOK.COM, ADIDASOUTLETSHOPS.COM,
 ADIDASOUTLETSTORE.US a/k/a ADIDASOUTLETSTORES.NET,
 ADIDASOUTLETTRAINERSUK.COM, ADIDASPORTSDE.COM,
 ADIDASPROMODEL.ORG, ADIDASROSE9.COM,
 ADIDASSALETRAINERS.CO.UK, REEBOKSHOESUSOUTLETS.COM
 a/k/a REEBOKSHOESCLEARANCESALE.COM a/k/a
 REEBOKSHOESONLINESALE.COM a/k/a
 ADIDASSHOESBESTSHOP.COM a/k/a ADIDASSHOESUSSHOP.COM,
 ADIDASSHOESNMD.COM, ADIDASSHOEYEEZY.COM a/k/a
 ADIDASYEEZYONINE.COM a/k/a ADIDASYEEZYSHOE.COM a/k/a
 ONLINESALEYEEZY.COM a/k/a SALEADIDASYEEZY.COM a/k/a
 SALEYEEZY2018.COM a/k/a SALEYEEZYONLINE.COM a/k/a
 THEYEEZYBOOST.COM a/k/a THEYEEZYOUTLETS.COM a/k/a
 YEEZYSHOESADIDAS.COM a/k/a BRANDYEEZYSHOES.COM a/k/a
 BUYYEEZYSHOES.COM, ADIDASSKOKVINDER.COM a/k/a
 ORIGINALSSKOADIDAS.COM, ADIDASSPEZIALSKOTILBUD.COM,
 ADIDAS-SUPERSTAR-FEMME.COM, ADIDASTOPVIP.COM a/k/a
 JEREMYSCOTTPANDA.COM a/k/a CHEAPESTSOCCER.COM a/k/a
 NEWESTYEEZY.COM a/k/a YEEZY350V2SHOP.COM a/k/a
 ADIDASYEEZY2U.COM a/k/a SHOES-DO.COM,
 ADIDASTUBULARSALE.COM a/k/a ADIDASWIND.COM,
 RABATTADIDASSWIFTRUN.COM a/k/a ADIDASUKSALE.CO.UK,
 ADIDASYEEZY350BOOST.NET, ADIDASYEEZYBOOSTSALE.COM,
 ADIDASYEEZYBOOSTSHOP.COM, ADIDASYEEZYCZ.COM,
 ADIDASYEEZYOSA.XYZ, ADIDASYEEZYS.NET,
 ADIDASYEEZYS.US, YEEZYBELUGAV2.US a/k/a
 YEEZYSHOESCA.COM a/k/a ADIDAS-YEEZYS.US a/k/a
 YEEZY350BOOST-V2.US a/k/a BOOSTYEEZY.US a/k/a
 ADIDASYEEZY-SHOES.US, ADIDASYEEZYSHOP.COM,
 ADIDASYEEZYSSHOP.COM, ADIDASYEEZYUK.COM a/k/a
 SHOPYEEZYBOOST.COM, ADIDASYEEZYUS.COM,
 ADIDAYEEZYEN.COM, ADIDAYEEZYSALE.COM a/k/a
 ADIDAYEEZYSHOP.COM, ADORIGINALS-UK.ORG,


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 CHENNAIARABICCENTRE.COM a/k/a JUDYMITCHELLHOMES.COM
 a/k/a ADYEEZYBOOST350SHOP.COM, AFRIKAINTER.COM,
 AIRMAX90WHITECHEAP.COM, ALLINADIDAS.COM,
 ALPHABOUNCEBEYOND.COM a/k/a
 CHEAPTRAINERSFORSALE.COM a/k/a CHEAPNMDSHOES.COM a/k/a
 WOMENSNMDR1SHOES.COM a/k/a STEPHENCURRYSHOE.COM,
 ATOYAMASUSHI.COM, AUTHENTICBRUINSPROSHOP.COM a/k/a
 AUTHENTICPREDATORSTORE.COM a/k/a
 AUTHENTICWILDSTORE.COM, BARATASYEEZY.COM,
 BARATOYEEZYES.COM, BESTFAKEYEEZYS.COM a/k/a
 BUYFAKEYEEZYS.COM a/k/a REPLICAYEEZY.COM a/k/a
 SPOTFAKEYEEZYS.COM a/k/a WHERETOBUYFAKEYEEZYS.COM,
 BEYOURJORDANS.VIP, BLACKYEEZYSALE.COM,
 BMSCUSTOMZ.COM, BONDYEEZY.COM,
 BRISTOLPARENTINGHUB.CO.UK, , CHEAPADIDASSHOES2018.COM,
 CHEAPAIRMAX95.US, CHEAPFOOTBALLSHIRTSREPLICA.COM,
 CHEAPJERSEYSAUTHENTIC.US,
 CHEAPSOCCERJERSEYSWHOLESALESHOP.COM,
 CHEAPYEEZYSONSALE.COM, COCOSPORTSTORE.COM,
 COMFYYEEZYBOOST.COM, CORPGRP.COM,
 COSMICTOUCHMASSAGE.COM, DANCEMAKERS.CO.UK a/k/a
 GYOZABAR.UK a/k/a LINCOLNSHIREMUSICNETWORK.CO.UK,
 DAVIDWALKERPI.COM, DECOY-BMX.CO.UK,
 DESNEAKERKAUFEN.COM, DIETZELMOTEL.COM a/k/a
 UPSCALENURU.COM, EASYEEZY.COM,
 ELMONTYOUTHSOCCER.VIP, EQUIPACIONFUTBOLES.COM,
 EVERYONESYEEZY.US, REPLICAYEEZYBOOST350.COM a/k/a
 FEETTEAM.COM, FINETREESNCUISINE.COM, FR-ADIDAS-
 RUNNING.COM, FTWRYEEZY.COM a/k/a NOIRYEEZY.COM,
 GETYEEZY.COM, GODYEEZY.COM, GOGOYEEZY.NET,
 IYESHOES.COM, JERSEY777.CO, JESPA.CO.UK, JODFAS.ORG.UK,
 MARIOVENDRELL.COM a/k/a JOYFULNONCONFORMIST.COM,
 KANYE-YEEZY.COM, KAUFENYEEZY.COM, KAYSOGLOBAL.COM,
 KICKSVOGUE.NET, KITTELLRESEARCH.COM,
 LEUKEADIDAS.COM, LIKEREEBOK.COM, LUCUSYEEZY.COM,
 MOREYEEZYOUTLET.COM, MOXIESTRONG.COM, N7-SHIRTS.COM,
 NEUTRIKOTS.COM, NEWYEEZYV2.COM a/k/a NEWYEEZYV2.ORG
 a/k/a YEEZY500.ORG, NHLJERSEYS.SALE,
 NJUTNINGTILLSALU.COM, NMDPINKSALE.COM, N-STYLE-
 BP.COM, TINYMARIGOLD.COM a/k/a OBECHRAFTING.COM,
 OFFICIALYYEEZYSHOP.COM, OKYEEZY.COM,
 ORIGINALYEEZY.COM, PASADENA-HOME.COM,
 POLOSSELLS.COM, RAWKINGLIFE.COM, REEBOKESHOES.COM,
 REEBOK-MARKET.COM, REEBOKONLINEOUTLETSHOES.COM,
 REEBOKONLINESTOREUK.COM,
 REEBOKOUTLETONLINESHOES.COM, REEBOKSKO.COM a/k/a


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 REEBOKPUMP.US, SALEORIGINALSUPERSTAR.COM,
 SCOTTLANGMAN.COM a/k/a SUPERIORKIDZ.COM,
 SELLYEEZYS.ME, SEOSPIED.COM,
 SHOPADIDASFACTORYSALE.COM, SHOPADIDASYEEZY.COM,
 SHOP-SHOES-YEEZY.COM, YEEZY350BOOSTADIDAS.US a/k/a
 YEEZY350V2S.US a/k/a SNEAKERBOOSTSALE.COM a/k/a YEEZY-
 700.COM a/k/a YEEZY-BOOST-350.ORG a/k/a YEEZY350-BOOST.NET,
 SOCCER101SHOES.COM, SOCCER4SHOES.COM,
 SOCCERDEALSHOP.COM, SOCCERO-SHOP.COM, SOLDES-
 ORIGINALS.COM, SORENTAINE.COM, SPIRITOTHELAKE.COM,
 SPOTLIGHTEXPRESSFX.COM, STYLEYEEZY.COM a/k/a
 YEEZYKICK.US, SUPERSTARADIDAS99.COM, SUPERYEEZY.COM,
 TERRYBAILEYLAW.COM, THEGALABOUT.COM,
 TODOJERSEYS.NET, TOPKICKSS.RU, UKYEEZY.CO.UK,
 USSOCCERMART.COM, USYEEZYBOOST.COM,
 VISITTHEBARKPARK.COM, WINNPACK.COM, WOKKAHOLIC.COM,
 WOMENYEEZY.COM, XMASYEEZY.COM, YEEZY.NAME,
 YEEZY2018.COM, YEEZY-350.US, YEEZY350BOOSTAU.COM,
 YEEZY350V2BOOST.US a/k/a YEEZY350BOOST-V2.ORG,
 YEEZY350HUB.COM, YEEZY350SCHUHEVERKAUF.CLUB a/k/a
 YEEZY350V2CHALKCORAL.CLUB a/k/a
 YEEZY750SCHUHEVERKAUF.INFO, YEEZY350V2OUTLETS.COM,
 YEEZY500.COM, YEEZY950.COM, YEEZY-BAY.COM,
 YEEZYBAYKICKS.COM, YEEZYBELUGA.US,
 YEEZYBLUETINT.COM, YEEZYBOOST.US, YEEZY-BOOST350.COM,
 YEEZYBOOST350.ONLINE, YEEZYBOOST350.ORG, YEEZY-
 BOOST350.ORG, YEEZYBOOST-SKO.COM, YEEZYBOOST-
 SKOR.COM, YEEZY-DK.COM, YEEZYFIRE.VIP,
 YEEZYHOTSALE.COM, YEEZYONLINE-NL.COM,
 YEEZYREPLICA.ORG, YEEZYSCHUHE.COM,
 YEEZYSCHUHEONLINE.COM, YEEZYSCHUHEOUTLET.COM, and
 YESYEEZY.CLUB, each an Individual, Partnership, or Unincorporated
 Associations,

                   Defendants,
 ______________________________________________________________/

                COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

        Plaintiffs, adidas AG, adidas International Marketing B.V., adidas America, Inc., Reebok

 International Limited, and Reebok International Ltd., (collectively “Plaintiffs”) hereby sue

 Defendants the individuals, partnerships, business entities, and unincorporated associations

 identified in the caption, which are set forth on Schedule “A” hereto (collectively “Defendants”).


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 Defendants are promoting, selling, offering for sale and distributing goods bearing counterfeits

 and confusingly similar imitations of Plaintiffs’ respective trademarks within this district through

 at least the fully interactive commercial Internet websites operating under the domain names

 identified on Schedule “A” hereto (the “Subject Domain Names”). In support of their claims,

 Plaintiffs allege as follows:

                                  JURISDICTION AND VENUE

        1.      This is an action for federal trademark counterfeiting and infringement, false

 designation of origin, cybersquatting, common law unfair competition, and common law

 trademark infringement, pursuant to 15 U.S.C. §§ 1114, 1116, 1125(a), and 1125(d) and The All

 Writs Act, 28 U.S.C. § 1651(a). Accordingly, this Court has subject matter jurisdiction over this

 action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. This Court has

 supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’ state law claims because

 those claims are so related to the federal claims that they form part of the same case or

 controversy.

        2.      Defendants are subject to personal jurisdiction in this district because they operate

 commercial websites accessible in this district conduct business by registering and maintaining

 commercial Subject Domain Names registered within the United States and/or and direct

 business activities towards consumers throughout the United States, including within the State of

 Florida and this district through at least the fully interactive 1 commercial Internet websites

 operating under the Subject Domain Names.


 1
   Several Defendants use their Subject Domain Names to act as supporting domain names to
 direct traffic to their fully-interactive, commercial websites operating under other Subject
 Domain Names, from which consumers can complete purchases. Some of the supporting
 domain names, when accessed directly, appear to be blog style or non-operating websites;
 however, when visited from a search engine such as Google, visitors are redirected to the fully-
 interactive websites operating under other Subject Domain Names. Other supporting domain

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         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

 upon information and belief, engaged in infringing activities and causing harm within this district

 by advertising, offering to sell, and/or selling infringing products into this district.

                                          THE PLAINTIFFS

         4.      Plaintiff adidas AG (“adidas AG”) is a joint stock company organized and

 existing under the laws of the Federal Republic of Germany, having its office and principal place

 of business at Postach 1120, D-91072 Herzogenaurach, Federal Republic of Germany. adidas

 AG is currently, and for years has been, one of the world’s leading manufacturers of athletic

 footwear and apparel, including products bearing the distinctive adidas Mark, Trefoil Mark, and

 3 Bars Logo.

         5.      Plaintiff adidas International Marketing B.V. (“adidas International”) is a

 corporation organized and existing under the laws of Netherlands, having its principal place of

 business in the Netherlands. adidas International is wholly owned by adidas AG and its

 affiliates.

         6.      Plaintiff adidas America, Inc. (“adidas America”) is a corporation organized and

 existing under the laws of the State of Oregon, having its principal place of business at 5055 N.

 Greeley Avenue, Portland, Oregon, 97217. adidas America is wholly owned by adidas AG and

 its affiliates, and within this country adidas America is a licensed distributor of adidas-branded

 merchandise, including goods bearing the distinctive adidas Mark, Trefoil Mark, and 3 Bars




 names either automatically redirect and forward to a fully-interactive, commercial Internet
 website operating under one of the Subject Domain Names or redirect a consumer to a fully-
 interactive, commercial Internet website operating under one of the Subject Domain Names upon
 clicking a product or link on the website. All of the redirecting websites are identified as such in
 Composite Exhibit “3” hereto.

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 Logo. adidas AG, adidas International, and adidas America shall be referred to herein

 collectively as “adidas.”



        7.      Plaintiff Reebok International Limited (“Reebok International”) is a corporation

 organized and existing under the laws of England, having its principal place of business at 11/12

 Pall Mall, London SWI Y 5LU, England. Reebok International is wholly owned by adidas AG

 and its affiliates. Reebok International currently is, and for many years has been, one of the

 world's leading manufacturers of footwear and sportswear, including products bearing the

 Reebok Mark, RBK Mark, Vector Mark, Starcrest Mark, and Stacked Reebok Delta Mark.

        8.      Plaintiff Reebok International Ltd. (“Reebok Ltd.”) is a corporation organized and

 existing under the laws of the Commonwealth of Massachusetts, having its principal place of

 business at 25 Dry Dock Ave., Boston, Massachusetts, 02210. Reebok Ltd. is wholly-owned by

 adidas AG and its affiliates. Reebok International and Reebok Ltd., and any predecessors or

 related entities, shall be collectively referred to herein as “Reebok.”

        9.      Plaintiffs’ trademarked goods are sold through various channels of trade within

 the State of Florida, including this district. Defendants, through the advertising, sale, and offering

 for sale counterfeit and infringing versions of Plaintiffs’ branded products, are directly, and

 unfairly, competing with Plaintiffs’ economic interests in the State of Florida and causing

 Plaintiffs harm within this jurisdiction.

        10.     Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

 sustained violations of their respective trademark rights at the hands of counterfeiters and

 infringers, such as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’




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 trademarks for the twin purposes of (i) duping and confusing the consuming public and (ii)

 earning substantial profits.



        11.     In order to combat the indivisible harm caused by the combined actions of

 Defendants and others engaging in similar conduct, each year Plaintiffs expend significant

 monetary resources in connection with trademark enforcement efforts, including legal fees,

 investigative fees, and support mechanisms for law enforcement, such as field training, guides

 and seminars. The exponential growth of counterfeiting over the Internet has created an

 environment that require Plaintiffs to file a number of lawsuits, often it later turns out, against the

 same individuals and groups, in order to protect both consumers and themselves from the ill

 effects of confusion and the erosion of the goodwill connected to Plaintiffs’ respective brands.

                                        THE DEFENDANTS

        12.     Defendants operate through domain names registered with registrars in multiple

 countries, including the United States, and are comprised of individuals and/or business entities

 of unknown makeup, whom, upon information and belief, likely reside and/or operate in foreign

 jurisdictions or redistribute products from the same or similar sources in those locations.

 Defendants have the capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

 Defendants direct their business activities towards consumers throughout the world, including

 the United States and within this district through the simultaneous operation of at least the fully

 interactive Internet commercial websites existing under the Subject Domain Names.

        13.     Upon information and belief, Defendants use aliases in conjunction with the

 operation of their businesses, including but not limited to those identified by the same Defendant

 Number on Schedule “A” hereto.



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        14.     Upon information and belief, Defendants are directly and personally contributing

 to, inducing and engaging in the sale of counterfeit branded products as alleged herein, often times

 as partners, co-conspirators and/or suppliers.

        15.     Defendants are part of an ongoing scheme to create and maintain an illegal

 marketplace enterprise on the World Wide Web, which (i) confuses consumers regarding the

 source of Defendants’ goods for profit, and (ii) expands the marketplace for illegal, counterfeit

 versions of Plaintiffs’ branded goods while shrinking the legitimate marketplace for Plaintiffs’

 genuine branded goods. The natural and intended byproduct of Defendants’ actions is the

 erosion and destruction of the goodwill associated with Plaintiffs’ respective famous names and

 trademarks, as well as the destruction of the legitimate market sector in which they operate.

        16.     Defendants are the past and present controlling forces behind the operation of

 commercial Internet websites operating under at least the Subject Domain Names.

        17.     Upon information and belief, Defendants directly engage in unfair competition

 with Plaintiffs by (i) advertising, offering for sale and/or selling goods bearing counterfeits and

 infringements of one or more of Plaintiffs’ individual trademarks to consumers within the United

 States and this district through at least the commercial websites operating under the Subject

 Domain Names and additional domains and websites not yet known to Plaintiffs and (ii) creating

 and maintaining an illegal marketplace enterprise for the purpose of diverting business from

 Plaintiffs’ legitimate marketplace for their genuine goods. Defendants have purposefully directed

 some portion of their illegal activities towards consumers in the State of Florida through the

 advertisement, offer to sell, sale, and shipment of counterfeit branded goods into the State, and

 by operating an illegal marketplace enterprise which impacts and interferes with commerce

 throughout the United States, including within the State of Florida.



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         18.     Upon information and belief, Defendants have registered, established or

  purchased, and maintained their respective Subject Domain Names, and the websites operating

  thereunder. Upon information and belief, many Defendants have engaged in fraudulent conduct

  with respect to the registration of the Subject Domain Names by providing false and/or

  misleading information to their various registrars during the registration or maintenance process.

  Upon information and belief, Defendants have registered and/or maintained the Subject Domain

  Names for the sole purpose of engaging in illegal counterfeiting activities.

         19.     Upon information and belief, Defendants will continue to register or acquire new

  domain names for the purpose of selling and/or offering for sale goods bearing counterfeit and

  confusingly similar imitations of one or more of Plaintiffs’ trademarks unless preliminarily and

  permanently enjoined. Moreover, upon information and belief, Defendants will continue to

  maintain and grow their illegal marketplace enterprise at Plaintiffs’ expense unless preliminarily

  and permanently enjoined.

         20.     Defendants’ Internet-based website businesses amount to nothing more than

  illegal operations established and operated in order to infringe the intellectual property rights of

  Plaintiffs and others.

         21.     Defendants’ business names, i.e., the Subject Domain Names and any other

  domain names used in connection with the sale of counterfeit and infringing goods bearing one

  or more of Plaintiffs’ trademarks are essential components of Defendants’ counterfeiting and

  infringing activities and are one of the means by which Defendants further their counterfeiting

  and infringement scheme and cause harm to Plaintiffs. Moreover, Defendants are using

  Plaintiffs’ respective famous names and/or trademarks to drive Internet consumer traffic to their

  websites operating under the Subject Domain Names, thereby creating and increasing the value



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  of the Subject Domain Names and decreasing the size and value of Plaintiffs’ legitimate

  marketplace at Plaintiffs’ expense.



                             COMMON FACTUAL ALLEGATIONS

         adidas’s Trademark Rights

         22.     adidas is currently, and for years has been, one of the world’s leading

  manufacturers of athletic footwear, apparel, and sporting equipment. adidas has used its famous

  and distinctive adidas Mark, Trefoil Mark and 3 Bars Logo, depicted below, (collectively, the

  “adidas Marks”), for more than sixty-five years, forty-five years, and twenty-five years,

  respectively, in connection with the above-mentioned goods.



  The adidas Marks signify the quality and reputation of adidas products.

         23.     adidas is the owner of multiple trademark registrations for the adidas Marks,

  including the valid trademark registrations identified on Schedule “B” hereto, issued by the

  United States Patent and Trademark Office. The adidas Marks are used in conjunction with the

  manufacture and distribution of quality goods in the categories also identified on Schedule “B.”

  True and correct copies of the Certificates of Registration for the adidas Marks are attached

  hereto as Composite Exhibit “1.”

         24.     The adidas Marks have been used in interstate commerce to identify and

  distinguish adidas products for an extended period of time and serve as symbols of adidas’s

  quality, reputation, and goodwill.

         25.     The adidas Marks are well-known and famous and have been for many years.

  adidas has expended substantial time, money and other resources developing, advertising and

  otherwise promoting the adidas Marks. Specifically, adidas has used the adidas Marks in

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  connection with its frequent sponsorship of sports tournaments and organizations, as well as

  professional athletes and collegiate sports teams. For example, adidas has long-term relationships

  with the University of Nebraska, and the University of Louisville. Among many others, NBA

  stars Derrick Rose, James Harden, and Andrew Wiggins, NFL stars Von Miller, Aaron Rodgers,

  Dak Prescott, NHL star Sidney Crosby, baseball player Kris Bryant, and soccer stars David

  Beckman and Lionel Messi all are sponsored by adidas. For many years, adidas has been a

  sponsor of the World Cup soccer tournament, has sponsored the world-famous Boston Marathon

  for more than a decade, and has sponsored many other events, teams, and individuals. Prominent

  use of the adidas Marks in connection with these sponsorship activities has further enhanced the

  adidas Marks’ recognition and fame. The adidas Marks qualify as famous marks as that term is

  used in 15 U.S.C. §1125(c)(1).

         26.     adidas has extensively used, advertised, and promoted the adidas Marks in the

  United States in association with the sale of quality products. adidas has spent hundreds of

  millions of dollars promoting the adidas Marks and products bearing the adidas Marks. In recent

  years, annual sales of products bearing the adidas Marks have totaled in the billions of dollars

  globally and in the hundreds of millions of dollars within the United States.

         27.     The adidas Marks have achieved secondary meaning as identifiers of quality

  goods as a result of adidas’s advertisement, promotion, and sale of such goods thereunder.

         28.     As a result of adidas’s efforts, members of the consuming public readily identify

  merchandise bearing or sold under the adidas Marks, as being quality merchandise sponsored

  and approved by adidas.

         29.     adidas has carefully monitored and policed the use of the adidas Marks and has

  never assigned or licensed the adidas Marks to any Defendant in this matter.



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         30.     Genuine goods bearing the adidas Marks are widely legitimately advertised and

  promoted by adidas, authorized distributors and unrelated third parties via the Internet. Over the

  course of the past several years, visibility on the Internet, particularly via Internet search engines

  such as Google, Yahoo!, and Bing has become increasingly important to adidas’s overall

  marketing and consumer education efforts. Thus, adidas expends significant monetary resources

  on Internet marketing and consumer education, including search engine optimization (“SEO”)

  strategies. Those strategies allow adidas and its authorized retailers to fairly and legitimately

  educate consumers about the value associated with the adidas Marks and the goods sold

  thereunder.

         Rebook’s Trademark Rights

         31.     Reebok is currently, and for years has been, one of the world’s leading

  manufacturers of athletic footwear, apparel, and sporting equipment. Reebok has used its

  REEBOK Mark, RBK Mark, Vector Mark, Starcrest Mark, and Stacked Reebok Delta Mark,

  depicted below, (collectively, the “Reebok Marks”) for many years, in connection with the

  above-mentioned goods.


                          REEBOK
  The Reebok Marks signify the quality and reputation of Reebok products.

         32.     Reebok is the owner of multiple trademark registrations for the Reebok Marks,

  including the valid and incontestable trademark registrations identified on Schedule “C” hereto,

  issued by the United States Patent and Trademark Office. The Reebok Marks are used in

  conjunction with the manufacture and distribution of quality goods in the categories also

  identified in Schedule “C.” True and correct copies of the Certificates of Registration for the

  Reebok Marks are attached hereto as Composite Exhibit “2.”



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         33.     The Reebok Marks have been used in interstate commerce to identify and

  distinguish Reebok products for an extended period of time and serve as symbols of Reebok’s

  quality, reputation, and goodwill.

         34.     The Reebok Marks are well-known and famous and have been for many

  years. Reebok has expended substantial time, money and other resources developing,

  advertising and otherwise promoting the Reebok Marks. Specifically, Reebok has used the

  Reebok Marks in connection with its frequent sponsorship of sports tournaments and

  organizations, and professional athletes. For example, Reebok sponsors numerous professional

  athletes, including NFL defensive end and reigning defensive player of the year J.J. Watt, NFL

  players Brandin Cooks and Devonta Freeman, four-time CrossFit Games Champion Rich

  Froning, Jr., as well as CrossFit Games Champions Tia Clair-Toomey, Ben Smith, and Katrin

  Tanja Davidsdottir. Reebok has been the title sponsor of the annual Reebok CrossFit Games,

  which annually crowns the men and women as “The Fittest on Earth,” since 2011, and is the

  exclusive apparel and footwear provider for CrossFit, one of the fastest growing sports in

  America. Reebok is also the exclusive apparel and footwear sponsor of the Ultimate Fighting

  Championship (“UFC”), which is the largest mixed martial arts promotion company in the

  world. Additionally, Reebok is the title sponsor of the Ragnar Relay series of endurance races

  and official partner of Les Mills, the world’s largest provider of choreographed group fitness

  classes at health clubs. Reebok also sponsors several entertainers, including Ariana Grande,

  Future, and Rae Sremmurd. The Reebok Marks qualify as famous marks as that term is used in

  15 U.S.C. §1125(c)(1).

         35.     Reebok has extensively used, advertised and promoted the Reebok Marks in the

  United States in association with the sale of quality products. Reebok has spent millions of



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  dollars promoting the Reebok Marks and products bearing the Reebok Marks. In recent years,

  Reebok has sold hundreds of millions of dollars of products bearing the Reebok Marks.

         36.     The Reebok Marks have achieved secondary meaning as identifiers of quality

  goods as a result of Reebok’s advertisement, promotion and sale of such goods thereunder.

         37.     As a result of Reebok’s efforts, members of the consuming public readily identify

  merchandise bearing or sold under the Reebok Marks, as being quality merchandise sponsored

  and approved by Reebok.

         38.     Reebok has carefully monitored and policed the use of the Reebok Marks and has

  never assigned or licensed the Reebok Marks to any Defendant in this matter.

         39.     Genuine goods bearing the Reebok Marks are widely legitimately advertised and

  promoted by Reebok, authorized distributors and unrelated third parties via the Internet. Over

  the course of the past several years, visibility on the Internet, particularly via Internet search

  engines such as Google, Yahoo!, and Bing has become increasingly important to Reebok’s

  overall marketing and consumer education efforts. Thus, Reebok expends significant monetary

  resources on Internet marketing and consumer education, including SEO strategies. Those

  strategies allow Reebok and its authorized retailers to fairly and legitimately educate consumers

  about the value associated with the Reebok Marks and the goods sold thereunder.

         Defendants’ Infringing Activities

         40.     In blatant disregard of Plaintiffs’ rights, Defendants are promoting and

  advertising, distributing, selling, and/or offering for sale goods in interstate commerce that bear

  counterfeit and confusingly similar imitations of the adidas Marks and/or the Reebok Marks

  (collectively, the “Counterfeit Goods”) through at least the fully interactive commercial Internet

  websites operating under the Subject Domain Names. True and correct copies of the web pages



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  reflecting samples of the Internet websites operating under the Subject Domain Names

  displaying Plaintiffs’ branded items offered for sale are attached hereto as Composite Exhibit

  “3.” Specifically, upon information and belief, Defendants are using identical copies of the

  adidas Marks and/or the Reebok Marks (collectively, “Plaintiffs’ Marks”) for different quality

  goods. Plaintiffs have used their respective Marks extensively and continuously before

  Defendants began offering counterfeit and confusingly similar imitations of Plaintiffs’

  merchandise.

         41.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially different than that of Plaintiffs’ respective genuine goods. Defendants, upon

  information and belief, are actively using, promoting and otherwise advertising, distributing,

  selling and/or offering for sale substantial quantities of their Counterfeit Goods with the

  knowledge and intent that such goods will be mistaken for the genuine quality goods offered for

  sale by Plaintiffs despite Defendants’ knowledge that they are without authority to use Plaintiffs’

  Marks. The net effect of Defendants’ actions will cause confusion of consumers at the time of

  initial interest, sale, and in the post-sale setting, who will believe Defendants’ Counterfeit Goods

  are genuine goods originating from, associated with, and approved by Plaintiffs.

         42.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  Internet websites operating under at least the Subject Domain Names. In so advertising these

  goods, Defendants improperly and unlawfully use one or more of Plaintiffs’ Marks without

  Plaintiffs’ permission. Indeed, Defendants herein misappropriated Plaintiffs’ advertising ideas

  and methods of doing business with regard to the advertisement and sale of Plaintiffs’ respective,

  genuine goods. Upon information and belief, the misappropriation of Plaintiffs’ advertising ideas

  in the form of Plaintiffs’ Marks is, in part, the proximate cause of harm to Plaintiffs.



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         43.     As part of their overall infringement and counterfeiting scheme, most Defendants

  are, upon information and belief, concurrently employing and benefiting from substantially

  similar, and often times coordinated, paid advertising and SEO strategies based, in large

  measure, upon an illegal use of counterfeits and infringements of at least one of Plaintiffs’

  Marks. Specifically, Defendants are, upon information and belief, using counterfeits and

  infringements of at least one of Plaintiffs’ famous names or Plaintiffs’ Marks in order to make

  their websites selling illegal goods appear more relevant and attractive to consumers online. By

  their actions, Defendants are contributing to the creation and maintenance of an illegal

  marketplace operating in parallel to the legitimate marketplace for Plaintiffs’ respective, genuine

  goods. Defendants are causing individual, concurrent and indivisible harm to Plaintiffs and the

  consuming public by (i) depriving Plaintiffs of their right to fairly compete for space within

  search engine results and reducing the visibility of Plaintiffs’ respective, genuine goods on the

  World Wide Web, (ii) causing an overall degradation of the value of the goodwill associated

  with Plaintiffs’ Marks, (iii) increasing Plaintiffs’ overall cost to market their goods and educate

  consumers about their brands via the Internet, and/or (iv) maintaining an illegal marketplace

  enterprise which perpetuates the ability of Defendants and future entrants to that marketplace to

  confuse consumers and harm Plaintiffs with impunity.

         44.     Upon information and belief, Defendants are concurrently conducting and

  directing their counterfeiting and infringing activities toward consumers and causing harm within

  this district and elsewhere throughout the United States. As a result, Defendants are defrauding

  Plaintiffs and the consuming public for Defendants’ own benefit.




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         45.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiffs’ respective ownership of Plaintiffs’ Marks, including their

  respective, exclusive rights to use and license such intellectual property and the goodwill

  associated therewith.

         46.     Defendants’ use of Plaintiffs’ respective Marks, including the promotion and

  advertisement, reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is

  without Plaintiffs’ consent or authorization.

         47.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ respective goodwill and reputations. If

  Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

  permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

  harmed.

         48.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers, the public, and the trade into believing there is a connection or association between

  Plaintiffs’ respective genuine goods and Defendants’ Counterfeit Goods, which there is not.

         49.     Further, upon information and belief, several Defendants have registered their

  respective Subject Domain Names, using marks that are nearly identical and/or confusingly

  similar to at least one of Plaintiffs’ Marks, (collectively the “Cybersquatted Subject Domain

  Names”).




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          50.    Upon information and belief, Defendants have registered and/or used the

  Cybersquatted Subject Domain Names with the bad faith intent to profit from Plaintiffs’

  respective Marks.

          51.    Defendants do not have, nor have they ever had, the right or authority to use

  Plaintiffs’ Marks. Further, Plaintiffs’ Marks have never been assigned or licensed to be used on

  any of the websites operating under the Cybersquatted Subject Domain Names.

          52.    Upon information and belief, Defendants have provided false and/or misleading

  contact information when applying for the registration of the Cybersquatted Subject Domain

  Names, or have intentionally failed to maintain accurate contact information with respect to the

  registration of the Cybersquatted Subject Domain Names.

          53.    Upon information and belief, Defendants have never used any of the

  Cybersquatted Subject Domain Names in connection with a bona fide offering of goods or

  services.

          54.    Upon information and belief, Defendants have not made any bona fide non-

  commercial or fair use of Plaintiffs’ Marks on a website accessible under the any of

  Cybersquatted Subject Domain Names.

          55.    Upon information and belief, Defendants have intentionally incorporated

  Plaintiffs’ respective Marks in their Cybersquatted Subject Domain Names to divert consumers

  looking for Plaintiffs’ respective Internet websites to their own Internet websites for commercial

  gain.

          56.    Given the visibility of Defendants’ various websites and the similarity of their

  actions, it is clear Defendants are either related or, at a minimum, cannot help but know of each




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  other’s existence and the damage likely to be caused to Plaintiffs and the overall consumer

  market in which it operates as a result of Defendants’ concurrent actions.

         57.     Although some Defendants may be acting independently, they may properly be

  deemed to be acting in concert because the combined force of their actions serves to multiply the

  harm caused to Plaintiffs.

         58.     Plaintiffs have no adequate remedy at law.

         59.     Plaintiffs are suffering irreparable injury and damages as a result of Defendants’

  unauthorized and wrongful use of Plaintiffs’ Marks. If Defendants’ counterfeiting, infringing,

  cybersquatting, and unfairly competitive activities, and their illegal marketplace enterprise are

  not preliminarily and permanently enjoined by this Court, Plaintiffs and the consuming public

  will continue to be harmed.

         60.     The injury and damages sustained by Plaintiffs have been directly and

  proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers

  to sell, and sale of their Counterfeit Goods and by the creation, maintenance and very existence

  of Defendants’ illegal marketplace enterprise.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         61.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         62.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeit and confusingly similar imitations of Plaintiffs’

  Marks in commerce in connection with the promotion, advertisement, distribution, sale and/or

  offering for sale of the Counterfeit Goods.




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         63.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing goods using counterfeits and infringements of one or more of

  Plaintiffs’ Marks. Defendants are continuously infringing and inducing others to infringe

  Plaintiffs’ Marks by using one or more of them to advertise, promote, sell, and/or offer to sell

  counterfeit and infringing branded goods.

         64.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

         65.     Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damage and irreparable harm to Plaintiffs and are unjustly enriching Defendants

  at Plaintiffs’ expense.

         66.     Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of Plaintiffs’ Marks in violation of Plaintiffs’ respective rights under § 32 of the

  Lanham Act, 15 U.S.C. § 1114.

         67.     Plaintiffs have each suffered and will continue to suffer irreparable injury due to

  Defendants’ above described activities if Defendants are not preliminarily and permanently

  enjoined.

                     COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         68.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         69.     Defendants’ Counterfeit Goods bearing and sold under copies of at least one of

  Plaintiffs’ Marks have been widely advertised and offered for sale throughout the United States.




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         70.     Defendants’ Counterfeit Goods bearing and sold under copies of at least one of

  Plaintiffs’ Marks are virtually identical in appearance to each of Plaintiffs’ respective, genuine

  goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,

  Defendants’ activities are likely to cause confusion in the trade and among the general public as

  to at least the origin or sponsorship of their Counterfeit Goods.

         71.     Defendants, upon information and belief, have used in connection with their

  advertisement, offer for sale, and sale of the Counterfeit Goods, false designations of origin and

  false descriptions and representations, including words or other symbols and trade dress which

  tend to falsely describe or represent such goods and have caused such goods to enter into

  commerce with full knowledge of the falsity of such designations of origin and such descriptions

  and representations, all to Plaintiffs’ detriment.

         72.     Defendants have authorized infringing uses of at least one of Plaintiffs’ Marks in

  Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

  Defendants have also misrepresented to members of the consuming public that the Counterfeit

  Goods being advertised and sold by them are genuine, non-infringing goods.

         73.     Additionally, many Defendants are using counterfeits and infringements of at

  least one of Plaintiffs’ Marks in order to unfairly compete with Plaintiffs and others for space

  within search engine organic results, thereby jointly depriving Plaintiffs of a valuable marketing

  and educational tool which would otherwise be available to Plaintiffs and reducing the visibility

  of Plaintiffs’ genuine goods on the World Wide Web.

         74.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).




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         75.     Plaintiffs have no adequate remedy at law, and have each sustained indivisible

  injury and damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction

  by this Court, each Plaintiff will continue to suffer irreparable injury to their respective goodwill

  and business reputations as well as monetary damages.

                COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
                 UNDER §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))

         76.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         77.     Upon information and belief, certain Defendants have acted with the bad faith

  intent to profit from the adidas Marks and Reebok Marks and the goodwill associated with the

  adidas Marks by registering and using the Cybersquatted Subject Domain Names.

         78.     The adidas Marks and Reebok Marks were distinctive and famous at the time

  Defendants registered the Cybersquatted Subject Domain Names.

         79.     The Cybersquatted Subject Domain Names are identical to, confusingly similar to

  or dilutive of at least one of the adidas Marks or Reebok Marks.

         80.     Defendants’ conduct is done with knowledge and constitutes a willful violation of

  Plaintiffs adidas’s and Reebok’s respective rights in the adidas Marks and Reebok Marks. At a

  minimum, Defendants’ conduct constitutes reckless disregard for and willful blindness to

  adidas’s and Reebok’s respective rights.

         81.     Defendants’ actions constitute cybersquatting in violation of §43(d) of the

  Lanham Act, 15 U.S.C. §1125(d).

         82.     Plaintiffs adidas and Reebok have no adequate remedy at law and have each

  suffered and will continue to suffer irreparable injury and damage due to the above described

  activities of Defendants if Defendants are not enjoined.


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                    COUNT IV - COMMON LAW UNFAIR COMPETITION

         83.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         84.     This is an action against Defendants based on their (i) promotion, advertisement,

  distribution, sale and/or offering for sale of goods bearing marks which are virtually identical,

  both visually and phonetically, to Plaintiffs’ Marks, and (ii) creation and maintenance of an

  illegal, ongoing marketplace enterprise operating in parallel to the legitimate marketplace in

  which Plaintiffs sell their genuine goods, in violation of Florida’s common law of unfair

  competition.

         85.     Specifically, Defendants are promoting and otherwise advertising, selling, offering

  for sale and distributing goods bearing counterfeits and infringements of at least one of Plaintiffs’

  Marks. Defendants are also using counterfeits and infringements of one or more of Plaintiffs’

  Marks to unfairly compete with Plaintiffs for (i) space in search engine results across an array of

  search terms and/or (ii) visibility on the World Wide Web.

         86.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ products by their use of Plaintiffs’ Marks.

         87.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

  damages as a result of Defendants' actions.

                 COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

         88.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.




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         89.     This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

  bearing one or more of Plaintiffs’ Marks. Plaintiffs are the owners of all common law rights in

  and to Plaintiffs’ Marks.

         90.     Specifically, Defendants, upon information and belief, promoting and otherwise

  advertising, distributing, offering for sale, and selling goods bearing infringements of at least one

  of Plaintiffs’ Marks.

         91.     Defendants infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ Counterfeit Goods bearing Plaintiffs’ Marks.

         92.     Plaintiffs have no adequate remedy at law and are suffering damages and

  irreparable injury as a result of Defendants’ actions.

                                       PRAYER FOR RELIEF

         93.     WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.       Entry of temporary, preliminary, and permanent injunctions pursuant to 15

  U.S.C. § 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,

  representatives, servants, employees, and all those acting in concert or participation therewith,

  from manufacturing or causing to be manufactured, importing, advertising or promoting,

  distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

  diluting Plaintiffs’ Marks; from using Plaintiffs’ Marks, or any mark or trade dress similar

  thereto, in connection with the sale of any unauthorized goods; from using any logo, trade name,

  trademark or trade dress that may be calculated to falsely advertise the services or goods of



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  Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

  Plaintiffs; from falsely representing themselves as being connected with Plaintiffs, through

  sponsorship or association, or engaging in any act that is likely to falsely cause members of the

  trade and/or of the purchasing public to believe any goods or services of Defendants are in any

  way endorsed by, approved by, and/or associated with Plaintiffs; from using any reproduction,

  counterfeit, infringement, copy, or colorable imitation of Plaintiffs’ Marks in connection with the

  publicity, promotion, sale, or advertising of any goods sold by Defendants; from affixing,

  applying, annexing or using in connection with the sale of any goods, a false description or

  representation, including words or other symbols tending to falsely describe or represent

  Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs and from

  offering such goods in commerce; from engaging in search engine optimization strategies using

  colorable imitations of Plaintiffs’ respective name or trademarks; and from otherwise unfairly

  competing with Plaintiffs.

                 b.      Entry of an order requiring Defendants, their agent(s) or assign(s), to

  assign all rights, title, and interest, to the Subject Domain Names to Plaintiffs and, if within five

  (5) days of entry of such order Defendants fail to make such an assignment, the Court order the

  act to be done by another person appointed by the Court at Defendants’ expense, such as the

  Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                 c.      Entry of an order requiring Defendants, their agent(s) or assign(s), to

  instruct all search engines to permanently delist or deindex the Subject Domain Name(s) and, if

  within five (5) days of entry of such order Defendants fail to make such a written instruction, the

  Court order the act to be done by another person appointed by the Court at Defendants’ expense,

  such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).



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                  d.      Entry of an order that, upon Plaintiffs’ request, those acting in concert or

  participation with Defendants who have notice of the injunction, as service providers cease

  hosting, facilitating access to, or providing any supporting service to any and all domain names,

  including but not limited to the Subject Domain Names, and websites through which Defendants

  engage in the promotion, offering for sale and/or sale of goods using counterfeits and/or

  infringements of Plaintiffs’ Marks

                  e.      Entry of an order pursuant to 28 U.S.C §1651(a), The All Writs Act that,

  upon Plaintiffs’ request, the top level domain (TLD) Registry for each of the Subject Domain

  Names or their administrators, including backend registry operators or administrators, place the

  Subject Domain Names on Registry Hold status for the remainder of the registration period for

  any such domain name, thus removing them from the TLD zone files which link the Subject

  Domain Names to the IP addresses where the associated websites are hosted.

                  f.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act

  canceling for the life of the current registration or, at Plaintiffs’ election, transferring the Subject

  Domain Names and any other domain names used by Defendants to engage in their

  counterfeiting of Plaintiffs’ Marks at issue to Plaintiffs’ control so they may no longer be used

  for illegal purposes.

                  g.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing

  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count I, that Plaintiffs be awarded statutory damages from

  each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit

  trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.



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                 h.      Entry of an order requiring the relevant Defendants to account to and pay

  Plaintiffs for all profits and damages resulting from those Defendants’ cybersquatting activities

  and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count III, that Plaintiffs be awarded statutory damages from

  the relevant Defendants in the amount of one hundred thousand dollars ($100,000.00) per

  cybersquatted domain name used as provided by 15 U.S.C. §1117(d) of the Lanham Act.

                 i.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 j.      Entry of an award of pre-judgment interest on the judgment amount.

                 k.      Entry of an order for any further relief as the Court may deem just and

  proper.

  DATED: November 1, 2018.                      Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.

                                                By: s:/Stephen M. Gaffigan/__________
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                             SCHEDULE A
            DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                 Defendant
                                    Defendant / Domain Name
                  Number
                      1       2017yeezy.com
                      1       2018yeezy.com
                      1       yeezy2018s.com
                      2       109jamz.com
                      3       2017yeezy-sale.com
                      4       2018nmdforsale.com
                      5       2018yeezyboost.com
                      6       350boostv2cheap.com
                      6       bestyeezyboost350.com
                      6       boost350v2sale.com
                      6       shoesjerseys.com
                      6       topyeezyboost350.com
                      6       vipyeezyboost350.com
                      7       abbotswoodmedicalcentre.co.uk
                      8       adidas-au.com
                      9       adidasay.com
                      9       adidasbest.com
                      9       adidasforsale.com
                      9       adidasnew.com
                      9       adidasok.com
                      9       forsalekicks.com
                      9       getyeezyboost.com
                      9       sneakermore.com
                      9       storeyeezyboost.com
                      9       usadidas.com
                      9       worldadidas.com
                      9       yeezyboost2019.com
                      9       yeezyboostpro.com
                      9       yeezyboostup.com
                      9       yeezyboosty.com
                     10       adidasclassic.com
                     10       adidaslight.com
                     11       adidasdeerupt.us
                     11       supremeyeezys.com
                     12       adidaseqtjapan.com
                     12       adidasnikesko.com
                     12       jp-wearadidas.com
                     13       adidaseqtshoes.us


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                     13       reebokclassicsuede.co.uk
                     14       adidasequipage.com
                     15       adidasfemalesneakersuk.com
                     16       adidasforsaleonlineuk.com
                     17       adidasharden.com
                     17       adidasking.com
                     17       adidasy3boost.com
                     17       adidasy3sale.com
                     17       adidasy3shoes.com
                     17       airyeezyshoes.com
                     17       getadidas.com
                     17       hireebok.com
                     17       iairyeezy.com
                     17       jordanabc.com
                     17       kidsyeezy.com
                     17       myyeezyboost.com
                     17       nikeadidasyeezy.com
                     17       nikeyeezy2.com
                     17       reebokbuy.com
                     17       sellyeezy.com
                     17       yeezygood.com
                     17       yeezymensboost.com
                     18       adidashi.com
                     19       adidashumanrace.us
                     19       adidas-shoes.org.uk
                     19       adidas-yeezy.org.uk
                     19       yeezybluetint.us
                     20       adidasnear.com
                     20       adidasoriginalsale.com
                     20       adidasyear.com
                     20       adidaszxshow.com
                     20       sportyeezy.com
                     21       adidasnemeziz.com
                     22       adidasnmd2018.com
                     23       adidasnmdca.com
                     24       adidasnmds.co.uk
                     24       adidas--shoes.co.uk
                     24       adidasyeezys.org.uk
                     24       yeezyboost350v2.co.uk
                     25       adidasofficial.com
                     25       yeahadidas.com
                     26       adidasoriginalszxflux.us
                     26       adidasshoesfactoryoutlet.com

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                     26       adidassoccercleatsshoes.us
                     27       adidasoutletonline.net
                     27       adidasyeezy2018.net
                     27       adidasyeezyboost.net
                     27       adidas-yeezyboost350.com
                     27       adidasyeezyboost350.net
                     27       cheapadidasshoes.net
                     27       yeezyshoes.net
                     28       adidasnmdr2.com
                     28       adidasoutletrushop.com
                     28       adidastubularinvader.com
                     28       coolreebok.com
                     28       jpadidasstore.com
                     28       livestockreebok.com
                     28       nbreebokmax.com
                     28       newreebokcrossfit.com
                     28       reebokclassiccheap.co.uk
                     28       reebokcrossfit.us
                     28       ucuzreebok.com
                     28       ucuzusbnbreebok.com
                     29       adidasoutletshops.com
                     30       adidasoutletstore.us
                     30       adidasoutletstores.net
                     31       adidasoutlettrainersuk.com
                     32       adidasportsde.com
                     33       adidaspromodel.org
                     34       adidasrose9.com
                     35       adidassaletrainers.co.uk
                     36       adidasshoesbestshop.com
                     36       adidasshoesusshop.com
                     36       reebokshoesclearancesale.com
                     36       reebokshoesonlinesale.com
                     36       reebokshoesusoutlets.com
                     37       adidasshoesnmd.com
                     38       adidasshoeyeezy.com
                     38       adidasyeezyonine.com
                     38       adidasyeezyshoe.com
                     38       brandyeezyshoes.com
                     38       buyyeezyshoes.com
                     38       onlinesaleyeezy.com
                     38       saleadidasyeezy.com
                     38       saleyeezy2018.com
                     38       saleyeezyonline.com

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                     38       theyeezyboost.com
                     38       theyeezyoutlets.com
                     38       yeezyshoesadidas.com
                     39       adidasskokvinder.com
                     39       originalsskoadidas.com
                     40       adidasspezialskotilbud.com
                     41       adidas-superstar-femme.com
                     42       adidastopvip.com
                     42       adidasyeezy2u.com
                     42       cheapestsoccer.com
                     42       jeremyscottpanda.com
                     42       newestyeezy.com
                     42       shoes-do.com
                     42       yeezy350v2shop.com
                     43       adidastubularsale.com
                     43       adidaswind.com
                     44       adidasuksale.co.uk
                     44       rabattadidasswiftrun.com
                     45       adidasyeezy350boost.net
                     46       adidasyeezyboostsale.com
                     47       adidasyeezyboostshop.com
                     48       adidasyeezycz.com
                     49       adidasyeezyosa.xyz
                     50       adidasyeezys.net
                     51       adidasyeezys.us
                     52       adidas-yeezys.us
                     52       adidasyeezy-shoes.us
                     52       boostyeezy.us
                     52       yeezy350boost-v2.us
                     52       yeezybelugav2.us
                     52       yeezyshoesca.com
                     53       adidasyeezyshop.com
                     54       adidasyeezysshop.com
                     55       adidasyeezyuk.com
                     55       shopyeezyboost.com
                     56       adidasyeezyus.com
                     57       adidayeezyen.com
                     58       adidayeezysale.com
                     58       adidayeezyshop.com
                     59       adoriginals-uk.org
                     60       adyeezyboost350shop.com
                     60       chennaiarabiccentre.com
                     60       judymitchellhomes.com

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                     61       afrikainter.com
                     62       airmax90whitecheap.com
                     63       allinadidas.com
                     64       alphabouncebeyond.com
                     64       cheapnmdshoes.com
                     64       cheaptrainersforsale.com
                     64       stephencurryshoe.com
                     64       womensnmdr1shoes.com
                     65       atoyamasushi.com
                     66       authenticbruinsproshop.com
                     66       authenticpredatorstore.com
                     66       authenticwildstore.com
                     67       baratasyeezy.com
                     68       baratoyeezyes.com
                     69       bestfakeyeezys.com
                     69       buyfakeyeezys.com
                     69       replicayeezy.com
                     69       spotfakeyeezys.com
                     69       wheretobuyfakeyeezys.com
                     70       beyourjordans.vip
                     71       blackyeezysale.com
                     72       bmscustomz.com
                     73       bondyeezy.com
                     74       bristolparentinghub.co.uk
                     75       cheapadidasshoes2018.com
                     76       cheapairmax95.us
                     77       cheapfootballshirtsreplica.com
                     78       cheapjerseysauthentic.us
                     79       cheapsoccerjerseyswholesaleshop.com
                     80       cheapyeezysonsale.com
                     81       cocosportstore.com
                     82       comfyyeezyboost.com
                     83       corpgrp.com
                     84       cosmictouchmassage.com
                     85       dancemakers.co.uk
                     85       gyozabar.uk
                     85       lincolnshiremusicnetwork.co.uk
                     86       davidwalkerpi.com
                     87       decoy-bmx.co.uk
                     88       desneakerkaufen.com
                     89       dietzelmotel.com
                     89       upscalenuru.com
                     90       easyeezy.com

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                     91       elmontyouthsoccer.vip
                     92       equipacionfutboles.com
                     93       everyonesyeezy.us
                     94       feetteam.com
                     94       replicayeezyboost350.com
                     95       finetreesncuisine.com
                     96       fr-adidas-running.com
                     97       ftwryeezy.com
                     97       noiryeezy.com
                     98       getyeezy.com
                     99       godyeezy.com
                    100       gogoyeezy.net
                    101       iyeshoes.com
                    102       jersey777.co
                    103       jespa.co.uk
                    104       jodfas.org.uk
                    105       joyfulnonconformist.com
                    105       mariovendrell.com
                    106       kanye-yeezy.com
                    107       kaufenyeezy.com
                    108       kaysoglobal.com
                    109       kicksvogue.net
                    110       kittellresearch.com
                    111       leukeadidas.com
                    112       likereebok.com
                    113       lucusyeezy.com
                    114       moreyeezyoutlet.com
                    115       moxiestrong.com
                    116       n7-shirts.com
                    117       neutrikots.com
                    118       newyeezyv2.com
                    118       newyeezyv2.org
                    118       yeezy500.org
                    119       nhljerseys.sale
                    120       njutningtillsalu.com
                    121       nmdpinksale.com
                    122       n-style-bp.com
                    123       obechrafting.com
                    123       tinymarigold.com
                    124       officialyyeezyshop.com
                    125       okyeezy.com
                    126       originalyeezy.com
                    127       pasadena-home.com

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                    128       polossells.com
                    129       rawkinglife.com
                    130       reebokeshoes.com
                    131       reebok-market.com
                    132       reebokonlineoutletshoes.com
                    133       reebokonlinestoreuk.com
                    134       reebokoutletonlineshoes.com
                    135       reebokpump.us
                    135       reeboksko.com
                    136       saleoriginalsuperstar.com
                    137       scottlangman.com
                    137       superiorkidz.com
                    138       sellyeezys.me
                    139       seospied.com
                    140       shopadidasfactorysale.com
                    141       shopadidasyeezy.com
                    142       shop-shoes-yeezy.com
                    143       sneakerboostsale.com
                    143       yeezy350-boost.net
                    143       yeezy350boostadidas.us
                    143       yeezy350v2s.us
                    143       yeezy-700.com
                    143       yeezy-boost-350.org
                    144       soccer101shoes.com
                    145       soccer4shoes.com
                    146       soccerdealshop.com
                    147       soccero-shop.com
                    148       soldes-originals.com
                    149       sorentaine.com
                    150       spiritothelake.com
                    151       spotlightexpressfx.com
                    152       styleyeezy.com
                    152       yeezykick.us
                    153       superstaradidas99.com
                    154       superyeezy.com
                    155       terrybaileylaw.com
                    156       thegalabout.com
                    157       todojerseys.net
                    158       topkickss.ru
                    159       ukyeezy.co.uk
                    160       ussoccermart.com
                    161       usyeezyboost.com
                    162       visitthebarkpark.com

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                    163       winnpack.com
                    164       wokkaholic.com
                    165       womenyeezy.com
                    166       xmasyeezy.com
                    167       yeezy.name
                    168       yeezy2018.com
                    169       yeezy-350.us
                    170       yeezy350boostau.com
                    171       yeezy350boost-v2.org
                    171       yeezy350v2boost.us
                    172       yeezy350hub.com
                    173       yeezy350schuheverkauf.club
                    173       yeezy350v2chalkcoral.club
                    173       yeezy750schuheverkauf.info
                    174       yeezy350v2outlets.com
                    175       yeezy500.com
                    176       yeezy950.com
                    177       yeezy-bay.com
                    178       yeezybaykicks.com
                    179       yeezybeluga.us
                    180       yeezybluetint.com
                    181       yeezyboost.us
                    182       yeezy-boost350.com
                    183       yeezyboost350.online
                    184       yeezyboost350.org
                    185       yeezy-boost350.org
                    186       yeezyboost-sko.com
                    187       yeezyboost-skor.com
                    188       yeezy-dk.com
                    189       yeezyfire.vip
                    190       yeezyhotsale.com
                    191       yeezyonline-nl.com
                    192       yeezyreplica.org
                    193       yeezyschuhe.com
                    194       yeezyschuheonline.com
                    195       yeezyschuheoutlet.com
                    196       yesyeezy.club




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                                SCHEDULE “B”
                 ADIDAS’S FEDERALLY REGISTERED TRADEMARKS

                    Registration   Registration
     Trademark                                                 Class / Goods
                     Number           Date
                                                IC25 - sport shoes namely, track and
                                                field shoes, baseball, boxing, football,
                                                skating, golf, and soccer shoes;
                                                sportswear namely, suits, shorts, pants,
      ADIDAS         0,891,222     May 19, 1970
                                                tights, shirts, gloves, and the like;
                                                jerseys; socks; sport shoes namely,
                                                track and field training shoes,
                                                basketball shoes, and tennis shoes.
                                                IC 18 - tote bags.
                                                IC 25 - specific purpose athletic shoes,
                                   November 20,
                     0,973,161                  general purpose sport shoes, sports
                                      1973
                                                wear-namely, suits, shorts, pants, tights,
                                                shirts, jerseys, socks, and gloves.
                                                   IC 025 - Sportswear-Namely, Suits,
                                                   Shorts, Pants, Tights, Shirts, Jerseys,
                                    October 16,
                     1,300,627                     Socks, Gloves, Jackets, Coats,
                                       1984
                                                   Swimwear, Sweaters, Caps, Pullovers,
                                                   Warm-Up Suits, Boots, Shoes, Slippers.
                                                IC 025 - Sportswear-Namely, Suits,
                                                Shorts, Pants, Tights, Shirts, Jerseys,
                                   December 18, Socks, Gloves, Jackets, Coats,
                     1,310,140
                                      1984      Swimwear, Sweaters, Caps, Pullovers,
                                                Warm-Up Suits, Rain Suits, Ski Suits,
                                                Jump Suits, Boots, Shoes, Slippers.
                                                IC 018 - All purpose sport bags, athletic
                                                bags, traveling bags, backpacks,
                                                knapsacks.
                                                IC 025 - Sports and leisure wear,
                                                namely, shorts, pants, shirts, T-shirts,
                                                jerseys, socks, gloves, jackets,
                                                swimwear, caps and hats, pullovers,
                                   December 12,
                     2,411,802                  sweat-shirts, sweat suits, track suits,
                                      2000
                                                warm-up suits, boots, sandals, specific
                                                purpose athletic shoes and general all
                                                purpose sports shoes.
                                                IC 028 - Sports balls and playground
                                                balls; guards for athletic use, namely,
                                                shin guards, knee guards and leg
                                                guards.


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                                              IC 009 - Eyeglasses, sunglasses,
                                 November 19,
                    2,651,325                 eyeglass cases, frames for prescription
                                    2002
                                              glasses; and electronic calorie counters.
                                               IC 009 - Optical apparatus and
                                               instruments, namely, eyeglasses and
                                               sunglasses.
                                               IC 014 - Horological and chronometric
                                               instruments, namely, watches.
                                               IC 018 - Leather and imitations of
                                               leather, and goods made from these
                                               materials in the nature of bags for
                                               general and sport use, namely,
                                               handbags, tote bags, waist packs,
                                               overnight bags, backpacks, knapsacks
                                               and beach bags; trunks; traveling bags
                                               for general and sport use; leather and
                                               imitations of leather and goods made
                                               from these materials, namely, wallets,
                    3,104,117    June 13, 2006
                                               briefcases.
                                               IC 025 - Sports and leisure wear,
                                               namely suits, shorts, pants, sweatpants,
                                               skirts, skorts, dresses, blouses, shirts, T-
                                               shirts, sleeveless tops, polo shirts, vests,
                                               jerseys, sweaters, sweatshirts,
                                               pullovers, coats, jackets, track suits,
                                               training suits, warm-up suits,
                                               swimwear, underwear, socks, gloves,
                                               scarves, wristbands and belts; headgear,
                                               namely caps, hats, visors, headbands;
                                               athletic footwear and leisure foot wear,
                                               namely boots, sandals, specific purpose
                                               athletic shoes and general purpose
                                               sports shoes.
                                                 IC 009 - Mobile phone covers; laptop
                                  January 27,
                    4,679,762                    covers and sleeves; protective covers
                                     2015
                                                 and sleeves for tablet computer
                                                 IC 009 - Mobile phone covers; laptop
                                  January 27,
                    4,679,763                    covers and sleeves; protective covers
                                     2015
                                                 and sleeves for tablet computer




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                              SCHEDULE “C”
               REEBOK’S FEDERALLY REGISTERED TRADEMARKS

                   Registration    Registration
     Trademark                                                  Class / Goods
                    Number            Date
      REEBOK        1,133,704      April 22, 1980 IC 25. Shoes for use in athletic sports.
                                                    IC 025. Shoes and running suits
                    1,356,835     August 27, 1985
                                                    comprising jackets and pants
                                                  IC 018. All purpose sport bags
                                                  IC 25. Sweatpants, shorts, sweaters,
      REEBOK        1,390,793      April 22, 1986
                                                  polo shirts, hats, visors, headbands,
                                                  sweatbands, t-shirts, sweatshirts.
                                                 IC 018. All purpose sport bags, duffel
                                                 bags.
                                                 IC 025. Footwear and apparel; namely,
                    1,848,848     August 9, 1994 T-shirts, shirts, sweatshirts, sweaters,
                                                 jackets, hats, visors, socks, sweatpants,
                                                 pants, shorts, skirts, unitards, and
                                                 leotards.
                                                   IC 025. Footwear; apparel, namely,
                                                   shirts, tops, jackets, pants, shorts,
                                                   athletic uniforms, socks, tights, gloves
                                                   and, bras; headwear, namely, caps, hats
                                                   and head bands.
                                                   IC 041. Consulting services in the
                                                   fields of fitness and exercise; physical
                                                   fitness and exercise training services;
                                                   providing physical fitness and exercise
                                                   instruction; entertainment in the nature
                                                   of competitions in the field of
                    4,092,269     January 24, 2012 weightlifting, cross-training, and
                                                   overall physical fitness; organizing
                                                   physical fitness competitions;
                                                   providing motivational speakers and
                                                   personal appearances by athletes and
                                                   physical fitness experts; health and
                                                   fitness club services, namely,
                                                   providing instruction, facilities, and
                                                   equipment in the field of physical
                                                   exercise; organizing and conducting
                                                   classes, seminars, and workshops in
                                                   the field of fitness



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